Case 1:21-cv-02170-ACR Document 93-11

EXHIBIT

Filed 05/26/25

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Filed 05/26/25

1:21-cv-02170-ACR SMITH et al v. KAUFMAN et al

Ana C. Reyes, presiding
Date filed: 08/13/2021
Date of last filing: 05/23/2025

History

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Dates

Description

Filed & Entered:

08/13/2021

@ Complaint

Filed & Entered:

08/14/2021

@ Amended Complaint

Filed & Entered:

08/16/2021

@ Case Assigned/Reassigned

Filed & Entered:

08/16/2021

@ Summons Issued Electronically

Filed & Entered:

08/16/2021

@ Summons Returned Executed

Filed & Entered:

08/16/2021

@ Summons Returned Executed

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Filed & Entered:

08/20/2021

@ Certificate of Service

Filed & Entered:

08/23/2021

@ Notice of Error

Filed & Entered:

08/27/2021

@ Answer to Amended Complaint

Filed & Entered:

08/30/2021

@ Order

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Filed:
Entered:
Terminated:

09/03/2021
09/06/2021
09/07/2021

@ Motion for Extension of Time to File Answer

Filed & Entered:

09/07/2021

@ Order on Motion for Extension of Time to Answer

Filed & Entered:

09/21/2021

@ Order on Motion to Continue

10 {Filed & Entered:

Terminated:

09/21/2021
09/21/2021

@ Motion to Continue

Filed & Entered:

10/01/2021

@ Case Assigned/Reassigned

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10/07/2021

@ Answer to Amended Complaint

Filed & Entered:

11/05/2021

@ Set/Reset Hearings

Filed:
Entered:

11/16/2021
11/17/2021

@ Set/Reset Hearings

Filed & Entered:

11/16/2021

@ Order

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Filed & Entered:
Terminated:

12/02/2021
12/06/2021

@ Motion to Dismiss

14 |Filed & Entered:

12/02/2021

@ Meet and Confer Statement

Filed & Entered:

12/06/2021

@ Order on Motion to Dismiss

Filed & Entered:

12/09/2021

@ Scheduling Conference

Filed:
Entered:

12/09/2021
12/10/2021

@ Set/Reset Deadlines

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Filed & Entered:

Terminated: ~

12/09/2021
01/24/2022

@ Motion to Amend/Correct

Filed & Entered:

01/09/2022

@ Memorandum in Opposition

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Filed:

01/18/2022

@ Reply to opposition to Motion

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Entered:

01/21/2022

Filed 05/26/25

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Filed & Entered:

01/24/2022

@ Order on Motion to Amend/Correct

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Entered:

01/24/2022
01/27/2022

@ Answer to Amended Complaint

Filed & Entered:

02/17/2022

@ Scheduling Conference

Filed & Entered:

02/18/2022

@ Set/Reset Deadlines

Filed & Entered:

02/18/2022

@ Order

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03/18/2022

@ Set/Reset Deadlines

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03/18/2022

@ Order

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Terminated:

05/09/2022
05/10/2022

@ Motion to Amend/Correct

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05/10/2022

@ Order on Motion to Amend/Correct

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Terminated:

05/10/2022
05/31/2022

@ Motion to Amend/Correct

Filed & Entered:

05/10/2022

@ Errata

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05/3 1/2022

@ Order on Motion to Amend/Correct

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05/3 1/2022

@ Set/Reset Deadlines

Filed:
Entered:

05/3 1/2022
06/08/2022

@ Amended Complaint

26 |Filed & Entered:

06/15/2022

@ Answer to Amended Complaint

Filed & Entered:

06/21/2022

@ Order

Filed & Entered:

06/22/2022

@ Set/Reset Deadlines

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06/27/2022

@ Transcript

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06/27/2022

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06/28/2022
07/01/2022

@ Answer to Amended Complaint

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07/08/2022

@ Notice (Other)

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07/11/2022

@ Notice of QC

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07/11/2022
08/05/2022

@ Set/Reset Hearings

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07/11/2022

@ Order

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07/11/2022

@ Notice (Other)

Filed & Entered:

08/11/2022

@ Notice of Appearance

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08/11/2022

@ Notice of Withdrawal of Appearance

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08/11/2022

@ Certificate of Service

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08/11/2022
08/15/2022

@ Motion to Clarify

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08/12/2022

@ Meet and Confer Statement

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@ Order

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09/23/2022

@ Notice (Other)

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11/14/2022

@ Notice (Other)

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Terminated:

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12/02/2022

@ Motion to Stay

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Filed 05/26/25

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Filed & Entered:

12/02/2022

@ Order on Motion to Stay

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12/02/2022
12/05/2022

@ Set/Reset Deadlines

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02/24/2023

@ Case Assigned/Reassigned

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12/14/2023

@ Order

Filed & Entered:

12/15/2023

@ Set/Reset Deadlines/Hearings

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01/04/2024

@ Order

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01/04/2024

@ Meet and Confer Statement

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@ Meet and Confer Statement

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@ Order

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@ Notice of Hearing

Filed & Entered:

04/17/2024

@ Status Conference

Filed & Entered:

05/08/2024

@ Meet and Confer Statement

Filed & Entered:

05/09/2024

@ Order

Filed & Entered:

05/09/2024

@ Scheduling Order

Filed & Entered:

06/01/2024

@ Rule 26al Statement

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Filed & Entered:

06/03/2024

@ Rule 26al Statement

Filed & Entered:

08/08/2024

@ Order

Filed & Entered:

08/24/2024

@ Interrogatories Propounded

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Filed & Entered:

08/24/2024

@ Request for Production of Documents

Filed & Entered:

08/26/2024

@ Notice of Error

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08/26/2024

@ Interrogatories Propounded

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@ Interrogatories Propounded

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@ Request for Production of Documents

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08/26/2024

@ Status Report

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08/28/2024

@ Order

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09/30/2024

@ Rule 26b4 Statement

Filed & Entered:

10/04/2024

@ Certificate of Service

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10/17/2024

@ Interrogatories Propounded

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@ Request for Production of Documents

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10/18/2024

@ Status Report

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11/07/2024

@ Status Report Order

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11/09/2024

@ Set/Reset Deadlines/Hearings

Filed & Entered:

11/25/2024

@ Set/Reset Deadlines/Hearings

Filed & Entered:

11/26/2024

@ Answer to Interrogatories

Filed & Entered:

11/26/2024

@ Response to Discovery

Filed & Entered:

12/17/2024

@ Order

Filed & Entered:

12/17/2024

@ Set/Reset Deadlines/Hearings

Filed & Entered:

12/17/2024

@ Status Report

Filed & Entered:

01/16/2025

@ Order to Show Cause

61 |Filed & Entered:

01/16/2025

@ Motion to Compel

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Terminated:

02/05/2025

Filed 05/26/25

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Filed & Entered:

01/23/2025

@ Notice (Other)

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01/23/2025

@ Response to Order to Show Cause

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01/24/2025

@ Order

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01/24/2025
03/25/2025

@ Set/Reset Deadlines/Hearings

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Terminated:

01/24/2025
01/28/2025

@ Motion for Miscellaneous Relief

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01/24/2025
01/28/2025

@ Motion for Extension of Time to Complete Discovery

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01/27/2025

@ Order

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01/27/2025

@ Response to Order of the Court

Filed & Entered:

01/28/2025

@ Order on Motion for Miscellaneous Relief

Filed & Entered:

01/28/2025

@ Order on Motion for Extension of Time to

Complete Discovery

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Terminated:

01/29/2025
02/20/2025

@ Motion for Protective Order

Filed & Entered:

01/31/2025

@ Rule 26b4 Statement

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02/05/2025

@ Withdrawal of Motion

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02/11/2025

@ Notice (Other)

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02/20/2025

@ Order on Motion for Protective Order

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02/24/2025

@ Order

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03/03/2025

@ Notice (Other)

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03/14/2025

@ Notice (Other)

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03/14/2025

@ Notice (Other)

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03/17/2025

@ Notice of Provisional/Government Not Certified Status

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03/17/2025

@ Notice of Provisional/Government Not Certified Status

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03/17/2025

@ Status Report

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@ Notice (Other)

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@ Notice (Other)

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04/02/2025

@ Order

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04/03/2025

@ Notice of Hearing

Filed & Entered:

04/04/2025

@ Order

Filed & Entered:

04/04/2025

@ Order

Filed & Entered:

04/07/2025

@ Notice (Other)

Filed & Entered:

04/11/2025

@ Set/Reset Deadlines/Hearings

Filed & Entered:

04/18/2025

@ Pre-motion Conference

Filed & Entered:

04/18/2025

@ Order Referring Case to Magistrate Judge

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04/18/2025
04/23/2025

@ Case Referred to Magistrate Judge

Filed & Entered:

04/23/2025

@ Order

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04/24/2025

@ Order

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05/05/2025

@ Proposed Briefing Schedule

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Filed & Entered:

05/06/2025 |@ Scheduling

Order

Filed & Entered:

05/09/2025

@ Motion for Summary Judgment

Filed & Entered:

05/09/2025

@ Motion for Summary Judgment

Filed & Entered:

05/09/2025

@ Memorandum

Filed & Entered:

05/12/2025

@ Set/Reset Deadlines/Hearings

Filed-&-Entered:

05/16/2025

@ Motion in Limine

Filed & Entered:

05/16/2025

@ Motion in Limine

Filed & Entered:

05/16/2025

@ Motion in Limine

Filed & Entered:

05/16/2025

@ Motion in Limine

Filed & Entered:

05/16/2025

@ Motion in Limine

Filed & Entered:

05/23/2025

@ Response to motion

Filed & Entered:

05/23/2025

@ Response to Document

PACER Service Center

Transaction Receipt

05/24/2025 12:35:51

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Client Code:

Description:

History/Documents

Search
Criteria:

1:21-cv-02170-
ACR

Billable Pages: \|4

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